Case 2:05-Cr-20280-BBD Document 13 Filed 08/17/05 Page 1 of 2 Page|D 15

IN THE UNITED sTATEs DISTRICT coURT F“-ED BY _~..~_... D.O.
FoR THE WESTERN DISTRICT oF TENNESSEE
wEsTERN DIVIsIoN 05 AUG |7 PH 3= 58

 

lHU M.
UNITED sTATEs oF AMERICA CHM §§ `§PSWYLWM
wm “l` !;'\d !'.‘_i"`_i‘"l"l‘ns

V.

EMANUEL Y. BERRY 05cr20280-2-D

 

ORDER ON ARRAIGNMENT

 

This cause came to be heard on Oi¢' ' |'l"OS the United States Attorney
for this district appeared on behalf of the government, and the defendant appeared in person and with
counsel:

NAME PA»T U~DWU who is Retained/Appointed.

The defendant, through counsel, waived formal arraignment and entered a plea of not guilty.

All motions shall be filed within thirty (30) days from the date hereof unless, for good cause
shown to a District Judge, such period is extended

1/ The defendant, who is not in custody, may stand on his present bond.
The defendant, (not having made bond) (being a State prisoner) (being a federal
prisoner) (being held Without bond pursuant to BRA of 1984), is remanded to the custody

of the U.S. Marshal.
W

UNITED STATES MAGISTRATE ]UDGE

 

CHARGES - 18 USC 1344 and 2
BANK FRAUD

Attorney assigned to Case: C. McMullen

Age: 3 5

This document entered on the docket sheet in compliance
with Fiute 35 and/or 32(!0) FF!CrP on ' ' '

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 13 in
case 2:05-CR-20280 Was distributed by faX, mail, or direct printing on
August 18, 2005 to the parties listed.

 

 

Camille Reese Mcl\/lullen
U.S. ATTORNEY'S OFFICE
167 N. l\/lain St.

Ste. 800

l\/lemphis7 TN 38103

PDA

FEDERAL PUBLIC DEFENDER
200 Jefferson Ave.

Ste. 200

l\/lemphis7 TN 38103

Honorable Bernice Donald
US DISTRICT COURT

